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                                IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                            Plaintiff,                 EXHIBIT LIST

        vs.                                           Case No.          4:23CR3051
                                                      Deputy:           Jeri Bierbower
JOHNNY PALERMO,                                       Reporter:         Lisa Grimminger
                                                      Date:             April 24, 2023
                            Defendant.


PLF     DFT     CRT     DESCRIPTION                               OFF     OBJ   RCVD      NOT    DATE
                                                                                          RCVD

                1       Powerpoint presentation                                 X                4/24/2023




OBJECTIONS
       R: Relevancy
       H: Hearsay
       A: Authenticity
       O: Other (specify)




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